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ED UNITED STATES DISTRICT COURT
Ant for the
District of Arizona

United States of America No. ] g ~ ¥3 © S (VS

v. . Oo CRIMINAL COMPLAINT

 

Thomas William Hancock (Under Seal)

 

I, Special Agent Brandon Lopez, the undersigned complainant, being duly sworn, state that the
following is true and correct to the best of my knowledge and belief:

Between on or about February 1, 2018 and May 30, 2018 in the County of Maricopa in the
District of Arizona, the defendant violated Title 18 U.S.C. §§ 1343 (Wire Fraud) and 1957(a),

(Transactional Money Laundering) as follows:

1. On or about the dates listed in the chart below, in the District of Arizona, defendant Thomas
William Hancock, for the purpose of executing and attempting to execute a scheme and artifice to
defraud and to obtain money, by means of materially false and fraudulent pretenses, representations’
and promises, defendant, within the meaning of Title 18, United States Code, Section 1343, caused
victim London Trust Media to transfer funds of at least $901,410.26 to accounts under his control.

2. After Hancock’s termination, it was discovered by LTM that during Hancock’s
employment with LTM, he prepared fraudulent invoices in Freshbooks software for the vendors
Digital Chaos (DC) and Hosting Services (HS). Freshbooks is an online accounting and invoicing
company aimed at allowing small business owners access to quickly create and send invoices as well
as receive notifications when invoices are paid. Hancock created an account with Freshbooks under
the email address TomHancock91@gmail.com.

3, The fraudulent invoices submitted to LTM included payment processing information on
the invoices. Hancock would then have the Freshbooks software email the invoice directly to LTM’s
accounts payable department or to Hancock’s LTM email address. These emails would then be
forwarded by Hancock to LTM’s accounts payable department. After the accounts payable
department received the invoice for Digital Chaos and/or Hosting Services, Hancock would verbally

communicate his approval to pay the invoice. LTM pays all of the vendot invoices on a company

 
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credit card. The following fraudulent invoices for Digital Chaos and Hosting Services were submitted

to LTM for processing:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Invoice

Counts Date Issued Number Payee Amount
I 02/01/2018 29 Hs $54,923.54
2 02/01/2018 29 DC $15,000.00
3 03/01/2018 48 DC $48,000.00
4 04/01/2018 47 HS $63,000.00
5 04/01/2018 47 DC $15,000.00
6 04/13/2018 52 HS $85,500.00
7 04/17/2018 53 HS $53,458.00
8 04/18/2018 54 HS $24,850.00
9 04/23/2018 59 HS $17,320.22
10 04/24/2018 60 HS $69,122.00
11 04/24/2018 61 Hs $30,541.50
12 04/30/2018 62 HS $7,832.11
13 05/01/2018 64 HS $199,195.00
14 05/01/2018 61 HS $52,000.00
15 05/01/2018 61 DC $30,000.00
16 05/09/2018 67 HS $63,200.00
17 05/16/2018 69 Hs $52,100.00
18 05/22/2018 70 Hs $28,200.00
19 05/30/2018 72 HS $8,520.25

 

 

 

All in violation of Title 18 U.S.C. § 1343.

4. On or about the dates specified below, each instance being a separate count of this
Complaint, in the District of Arizona and elsewhere, Defendant HANCOCK knowingly engaged in
monetary transactions by, though, or to a financial institution, affecting interstate commerce, in
criminally derived property that was of a value greater than $10,000, such property having been

derived from specified unlawful activity, namely Wire Fraud.

 
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Payment
Date Invoice Transaction
Counts Issued Number | Payee Amount Date Card
20) 02/01/2018 29 HS $54,923.54 | 02/02/2018 | RJ x8663
21 02/01/2018 29 DC $15,000.00 | 02/02/2018 | RJ x8663
22 03/01/2018 48 DC $48,000.00 | 03/02/2018 | RJ x8663
23 04/01/2018 47 Hs $63,000.00 | 04/03/2018 | RJ x8663
24 04/01/2018 47 DC $15,000.00 | 04/03/2018 | RJ x8663
25 04/13/2018 52 Hs $85,500.00 | 04/13/2018 | RJ x8663
26 04/17/2018 53 HS $53,458.00 | 04/17/2018 | RJ x8663
27 04/18/2018 54 HS $24,850.00 | 04/18/2018 | RJ x8663
28 04/23/2018 59 HS $17,320.22 | 04/23/2018 | RJ x8663
29 04/24/2018 60 Hs $69,122.00 | 04/24/2018 | RI x8663
30 04/24/2018 61 HS $30,541.50 | 04/24/2018 | RJ x8663
31 05/01/2018 64 HS $199,195.00 | 05/01/2018 | RJ x8663
32 05/01/2018 61 HS $52,000.00 | 05/02/2018 | RJ x8663
33 05/01/2018 61 DC $30,000.00 | 05/02/2018 | RJ x8663
34 05/09/2018 67 HS $63,200.00 | 05/10/2018 | RJ. x8663
35 05/16/2018 69 HS $52,100.00 | 05/16/2018 | RJ x8663
36 05/22/2018 70 HS $28,200.00 | 05/22/2018 | RJ x8663

 

Allin violation of Title 18 U.S.C. § 1957(a).

I further state that 1 am a Special Agent from the Internal Revenue Service, Criminal Investigation

Division (IRS-CI) and that this Complaint is based on the following facts:
See Attached Statement of Probable Cause Incorporated By Reference Herein.

Continued on the attached sheet and made a part hereof: Xl Yes

AUTHORIZED BY: Kevin M. Rapp, ausa”

Brandon Lopez, Special Agent — IRS-CI
Printed Name and title

Sworn to before me and signed in my presence.

Date:

8-31-1%

[3A

HONORABLE JOHN Z. BOYLE

United States Magistrate Judge

Name & Title of Judicial Officer

at

 

L] No
KRcy
Signature omplainant

Phoenix, Arizona
City and State

(KV

Signature of Judicial Officer

 

 
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AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, Special Agent Brandon Lopez, being duly sworn, depose and say:

BACKGROUND OF AFFIANT AND INVESTIGATION

l. I have been a Special Agent with the Internal Revenue Service, Criminal
Investigation Division IRS-CD for nine years. During my law enforcement career, I
have investigated numerous violations of federal law within the jurisdiction of IRS-CI.

2. My primary responsibilities include working long-term white collar crime —
investigations, including: mortgage fraud, wire fraud, mail fraud, bank fraud, corporate
fraud, money laundering, bankruptcy fraud, and other various fraud investigations. I
have training in this area from the Federal Law Enforcement Training Center in Glynco,
Georgia, and numerous seminars.

3. The investigation of THOMAS WILLIAM HANCOCK (HANCOCK) for
wire fraud and money laundering is being conducted by the Federal Bureau of
Investigation (FBI) and IRS-CI. The facts supporting this affidavit are based on the
interviews of witnesses, records and other information subpoenaed by the Grand Jury,
financial analysis, observations of other local and federal law enforcement agents,
review of public documents, and review of other 3™ party records.

WIRE FRAUD ACTIVITY

4. London Trust Media, Inc. (LTM) is an internet privacy and security company
located in Denver, Colorado founded by A.L. LTM began a sponsorship agreement
with Digital Chaos, a company hosting online sports gaming, for the purpose of
advertising on Digital Chaos’ online gaming sites. The monthly sponsorship agreement
was for $15,000 per month for the period of August 2016 — August 2017. HANCOCK
was an employee of Digital Chaos during the sponsorship.

5. Digital Chaos was originally a subsidiary of UK2 Group and in May 2017,
UK2 Group was sold to an online retailer, The Hut Group, and Digital Chaos became a
separate entity. HANCOCK registered the separate entity of Digital Chaos as an LLC
in Utah and listed himself, S.A., and G.C. as corporate officers.

 
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6. Hosting Services provides budget, shared, advanced, and other types of Web
hosting services to individuals and small businesses. Hosting Services provides data
center options in various key locations across the United Kingdom and the United
States. The company was founded in 2003 and is based in Providence, Utah.

7. In November 2017, LTM hired HANCOCK as Chief Technology Officer.
HANCOCK moved from Atlanta to Las Vegas where A.L. resided. While in Las Vegas,
HANCOCK worked closely with A.L. and quickly gained A.L.’s trust. In December
2017, HANCOCK was promoted to Executive Chairman where he was given large--
amounts of authority in the company. HANCOCK spent a good amount of his time in
Scottsdale, Arizona as UK2 Group had a large server “farm” located in Arizona.

8. HANCOCK was fired in March 2018 for frequently not showing up to work,
showing up to work late or erratic behavior. A-L. and HANCOCK spoke several times
and A.L. felt that HANCOCK deserved another chance. A.L. then hired HANCOCK
back as Executive Chairman of LTM, however, HANCOCK's behavior did not change.
He was terminated again m June 2018.

9, After HANCOCK ’s termination, it was discovered by LTM that during.
HANCOCK’s employment with LTM, he prepared fraudulent invoices in Freshbooks
software for the vendors Digital Chaos and Hosting Services. Freshbooks is an online
accounting and invoicing company aimed at allowing small business owners access to
quickly create and send invoices as well as receive notifications when invoices are paid.
HANCOCK created .an account with Freshbooks under the email address
TomHANCOCK91@gmail.com.

10. The fraudulent invoices submitted to LTM included payment processing
information on the invoices. HANCOCK would then have the Freshbooks software
email the invoice directly to LTM’s accounts payable department or to HANCOCK’s
LTM email address. These emails would then be forwarded by HANCOCK to LTM’s
accounts payable department. After the accounts payable department received the

invoice for Digital Chaos and Hosting Services, HANCOCK would verbally
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communicate his approval to pay the invoice. LTM pays all of the vendor invoices on
a company credit card. The following fraudulent invoices for Digital Chaos and Hosting

Services were submitted to LTM for processing:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Invoice
Counts Date Issued Number Payee Amount
1 02/01/2018 |. 29 HS $54,923.54
“2 02/01/2018 29 DC $15,000.00
3 03/01/2018 «48 Dc $48,000.00
4 04/01/2018 47 HS $63,000.00
5 04/01/2018 47 | DC $15,000.00
6 04/13/2018 52. HS $85,500.00
7 04/17/2018 53 HS $53,458.00
8 04/18/2018 54 Hs $24,850.00
9- | 04/23/2018 59 HS $17,320.22
10 | 04/24/2018 6 | Hs $69,122.00
11 04/24/2018 61 HS $30,541.50
12 04/30/2018 62 Hs $7,832.11
13 05/01/2018 64 HS $199,195.00
14 05/01/2018 61 HS $52,000.00
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Ll.

TRANSACTIONAL MONEY LAUNDERING

Based upon the fraudulent scheme orchestrated by HANCOCK, funds were

b£ accenfata

toa

Sg Ly
Crcaccet tashihe,

disbursed by the victim, LTM via the company credit card? The funds listed below are

in excess of $10,000 and are representative of transactional money laundering:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Payment
Date Invoice Transaction
Counts Issued Number | Payee Amount Date Card
20 | -02/01/2018 29 HS $54,923.54 02/02/2018 | RJ x8663
21 02/01/2018 29 DC $15,000.00 02/02/2018 | RJ x8663
22 03/01/2018 48 DC $48,000.00 - | 03/02/2018 | RJ x8663
23 04/0 1/2018 47 HS $63,000.00 04/03/2018 | RJ x8663
24 04/01/2018 47 DC $15,000.00 04/03/2018 | RJ x8663
25 04/13/2018 52 HS — | $85,500.00 04/13/2018 | RJ x8663
26 04/17/2018 53 HS $53,458.00 04/17/2018 | RJ x8663
27 04/18/2018 54 HS $24,850.00 04/18/2018 | RJ x8663_
28 04/23/2018 59 HS $17,320.22 04/23/2018 | RJ x8663
29 04/24/2018 60 HS $69,122.00 04/24/2018 | RJ x8663
30 04/24/2018 61 HS $30,541.50 04/24/2018 | RJ x8663
31 05/01/2018 64 HS $199,195.00 | 05/01/2018 | RJ x8663
32 05/01/2018 61 HS $52,000.00 05/02/2018 | RJ x8663
33 05/01/2018 61 DC $30,000.00 05/02/2018 | RJ x8663
34 05/09/2018 67 Hs $63,200.00 05/10/2018 | RJ x8663
35 05/16/2018 69 HS $52, 100.00 05/16/2018 | RJ x8663
36 05/22/2018 70 HS $28,200.00 05/22/2018 | RJ x8663

 

 

 

 

 

 

 

 

 
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. RECORDS GATHERED BY VICTIM

12.  LTM hired JJ O'Neill (O'Neill), a private mvestigator, to investigate
HANCOCK for the embezzlement activity. O’Neill provided the government with a
summary of his investigation, related records and evidence.

HANCOCK STATEMENTS TO VICTIM AND OTHERS

13. OnJune 28, 2018, LTM employee J.O. was at the nightclub, Bottled Blonde,
located in Scottsdale, AZ. By mere chance, HANCOCK was also in attendance at
Bottled Blonde and approached J.O. and initiated a conversation. During this
conversation, HANCOCK confessed he stole money from LTM via the creation of fake
invoices. J.O. advised HANCOCK fo contact LTM and return the stolen funds.

14. On June 28, 2018 R.K.V., an ex-girlfriend of HANCOCK, called R.G.,
bodyguard for A.L. R.K.V. stated she found R.G.’s phone number in HANCOCK’s
cell phone and advised R.G. that HANCOCK had stolen money from LTM and was
spending tens of thousands of dollars per day. R.K.V. also advised R.G. that
HANCOCK had a ledger of the fraudulent activity in addition to fake invoices utilized
during theft.

15. On or about, June 29, 2018, in a series of text messages, HANCOCK texted
A.L, and admitted to creating false billing items utilizing the names of Hosting Services
and Digital Chaos to facilitate the theft of approximately $800,000 to $900,000.
HANCOCK further stated to not knowing exactly how much he stole and that it could
be a higher amount. (See Exhibit A).

HANCOCK WHEREABOUTS

16. On or about, June 29, 2018, in a series of text messages, HANCOCK
forwarded text messages from R.K.V. indicating that FBI agents had called and left a
message for her.

17. In an email sent from HANCOCK to A.L. on August 2, 2018, HANCOCK

stated he is bankrupt, is scheduled to meet with a bankruptcy attorney, currently living

 
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off of his mother’s credit card, and that AL. does not want to see him behind bars
because he is trying to obtain employment to repay ali of the money. (See Exhibit B).

18. HANCOCK is a citizen of the United Kingdom and flew to London on
August 12, 2018. HANCOCK returned to the United States, landing at Los Angeles
International Airport on August 20, 2018. It is believed HANCOCK has obtained
employment with a Los Angeles telecommunications provider.

REQUEST FOR SEALING

It is further respectfully requested that this Court issue an Order sealing, until further
order of this Court, all papers submitted in support of this complaint, including the
probable cause statement and arrest warrant. Sealing is necessary because premature
disclosure of the contents of this probable cause statement and related documents may
cause one or more of the defendants to flee and may cause destruction of evidence and

may have a negative impact of this continuing investigation. —

<u yy
Brandon Lopéz~
Special Agent, IRS-CI

wa: . 3\ &-
Sworn to me and subscribed in my presence this day of August, 2018.

<a)fa>

Honorable John Z. Boyle
United States Magistrate Judge
District of Arizona

     

 
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Exhibit A

 
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7:34 . a> (@_)

 

<

Tom

| deserve it.

And the world deserves
better protections against
this in future. _ a

While I'm behind bars.
SO
| had two stripe accounts

One under ‘hosting
services’

One under digitalchaos

| was billing from both of
theminamisleading
fashion

Maybe it was 800k
Idk.

 
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7:34 : ol > (m=)

 

Tom

 

 

‘was stealing the restz

 

Last year your server bills
averaged 600k

 

Those same servers we
got down to 385 or so

And | was stealing the |
rest. Oo

Because | wanted to be
the coolest kid on the
block =

| knew | could fuck with
the server number easy.

Pte LL lee eee ee ee ER ee a

 
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7:42 ol => a@)

 

Tom

 

 

Yes

 

 
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7:46

 

Yes

Yep

 

Delivered

And my fraud.

 
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TET wD

now

 

_ Notification
team it's fun.

 

 

| need to look honestly
Not gonna lie.

‘| don’t even know

 

‘It could be more. It's so
fucked up.

| know for sure

 

 
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Exhibit B

 
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Fwd: Payment and note

w-n------- Forwarded message ---------

From: Andrew Lee <alee@londonirustmedia.com>

Date: Thu, Aug 2, 2018 at 11:30 AM

Subject: Fwd: Payment and note

To: Young Park <y.park@londontrustmedia.com>, Ted Kim
<ted@londontrustmedia.com>, John Arsenault
<john@londontrustmedia.com>, Alex Lee
<alex@iondontrustmedia.com>

---------- Forwarded message ---------- .

From: Thomas Hancock <tomhancock91@gqooglemail.com>
Date: Thu, Aug 2, 2018 at 11:25 AM
Subject: Payment and note
To: Andrew Lee <alee@londontrustmedia.com>, Andrew Lee
<andrew@londontrustmedia.com> .

Hi Andrew,

As per our chat on Telegram, you asked me to go find a way to start
paying back the owed money.

| have found 2.5k so far - which is not a lot but it is something and the
maximum | can get right now that | am bankrupt. My parents don't’
have money or credit lines to get. My only option is what | have been
pursuing hard since we talked - getting back into work - which | can do
after my trustee meeting for bankruptcy. | have found a few high
paying oppurtunities - which means | can get a loan against that
income -and | can guarantee you as a loan note equity upon a
transaction of the business. And anything else you want. | don’t care
at this point other than to pay back what | owe to the people | owe.

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That's the best idea | have. | have been in LA for 9 days doing normal
things while | pursue a hosting job. | have asked for a signing bonus
with a few - which | will pass on. | have been using my airmiles to stay
and living off my moms card. My mom has been in LA and Arizona
with me. We are still going through all the bankruptcy elements with
the lawyer as we prepare for the trustee meeting. AMEX took my side
on all the nightclub charges we talked about and you seen - the same
account has no balance now, even before the bankruptcy.

| do see as | explained how the process was working there is some
disputes card wise - Chase already closed my bank where the money
was going too (Chase) - the disputes | guess will fail because that
account doesn’t even exist anymore due to Chase closing it. | guess
we can figure this out between us. I’m not sure the disputes will
provide fruitful other then me going down a long path where there is
still no money available. | know you do not want to see my behind
bars and | want to figure this out.

I’ve just now got a new cell phone plan using an nvmo (!) so I’m easily
reachable again.... and | still have my Telegram.

Clearly | fucked up, | am trying to recover myself out of a horrible
place, | was evil, | was wicked and maybe we can work something
out....l want to rebuild my life.... | even refuse to go back to Scottsdale
even for lawyer... | have a call at 2pm with the Arizonalawyer....
Arizona is full of drug ridden, suicidal thoughts for me. My mom is |
there in my apartment now. | am also 0 fighting a suit in AZ. What a
mess ive made.

Let me try and fix this, | will clearly be paying it back for a long time
and perhaps we can add some interest to it and some other stuff as |
truly owe you and clearly it is all messed up but | do not want to serve
wasted time, | would rather try and help you in other ways and pay ©
you the money back. | will disclose any information you may wish for
like | was before. | know you said you didn’t want me to go behind
bars and | hope | can figure this out with you, because | know we can.

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| also hope in July and August and beyond you start seeing the server
savings that were true. There is a lot, and | am happy you will see
that. Even with the addition of things like Rescloud, Dubai servers etc
into that financial line item there will still be savings that will be true
cash, that is no means of a justification just something | can say I at
least did, while also being deceptive in doing so, which is disgusting. |
would get a fact check on this but it’s even in my tom@ email in one of
the spreadsheets the like for like savings compared to before we
added new locations, Rescloud, etc.

| know | created problems which still probably exist and are being
cleaned up but | know you guys are better off without myself and that
is just a wicked truth to myself.

| hope you are well and be team is, | can not do any employment or
anything useful till my bankruptcy trustee meeting, so if | can be of any
use, unpaid and just observatory, | will happily do so. Even if it just
means working on VP in the background or any advice you might find
useful in how to fill some of the holes | was able to use, and some |
seen glaring at me which | have fixed before. Clearly the team hates
me or hates what | did - so | do not want to rock a boat per se, | am
recovering with my mother here in the US, some friends who are not
from the mess of drinking in Scottsdale, | was using drugs and even
alcohol to cope with the thought of this even until my mother got here.
| still have 2.5% of DigitalChaos unsigned for equity wise - you should
just take it - it is not part of the bankruptcy as it is unsigned for - that
business wili be worth something nice at some point, it is also backed
and has Greg, the football guy as part of it - I’m sure you owning part
of that could get you endless benefits.

Sucks but with some stabilizing | am getting better and want to fix
everything - like you said to me - everything can be fixed and | want to
fix it.

One day we will be able to laugh again, | hope.

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With regret | send you this mail, again | am sorry. | am on Telegram if
you want to quick talk.

I’m sure some of this mail is muddied thought wise - but that’s just
how I am right now as | recover. Thanks for even reaching out to me
late June, early July and a week ago. | appreciate you talking to me.
_ You were a true friend, and I was a true dick, with evil features. So
disgusting on my side. | am trying to recover, | ask that we work
something out, and make it very favorable to yourself and the
business. | owe you everything.

Tom

Andrew Lee

 
